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                                                                       FILED: January 24, 2020


                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


                                          ___________________

                                               No. 19-2243
                                           (5:19-cv-00215-BO)
                                          ___________________

        RICKEY KIMBRIEL AND PAULA KIMBRIEL, individually, and on behalf of all
        others similarly situated

                        Plaintiffs - Appellants

        v.

        ABB, INC.; BALDOR ELECTRIC COMPANY, n/k/a ABB Motors and Mechanical,
        Inc.

                        Defendants - Appellees

                                          ___________________

                                         RULE 42(b) MANDATE
                                          ___________________

              This court's order dismissing this appeal pursuant to Local Rule 42(b) takes

        effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule 41(a)

        of the Federal Rules of Appellate Procedure.


                                                                    /s/Patricia S. Connor, Clerk



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